EEOC Form 5 (11/09)

Statement and other information before completing this form.

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This farm Is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA

[x]eeoc 430-2022-02677

North Carolina Office of Administrative Hearings, Civil Rights Division and EEOC

State or local Agency, if any

Name (indicate Mr., Ms., Mrs.)

Home Phone (Incl. Area Code) Date of Birth

828-208-4725

r. Jonathan Daniel Williams 11/16/95
Street Address City, State and ZIP Code
2802 Double Island Road. Green Mountain, NC 28740

Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe

Name

Department of Public Safety — State of North Carolina — State Highway

No, Employees, Members Phone No. {include Area Code)

~2,400 919-733-2126
atrol
Street Address City, State and ZIP Code
512 N. Salisbury Street Raleigh, North Carolina 27699-4201
Name No, Employees, Members Phone No. (include Area Code)
Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).)

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[ x Jeetaiation [foe [x pisasuiry [x Joenenic INFORMATION
| _prner (Specify)

DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

November 19, 2021 January 24, 2022

[continue ACTION

re PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

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1.) On September 1, 2021, due to a series of gubernatorial mandates, the North Carolina Department of
Public Safety issued a policy requiring workers, including North Carolina Highway Patrol troopers, to
either be fully vaccinated for Covid-19 or be tested for Covid-19 each week.

2.) Thereafter, I began testing for Covid-19 in compliance with this policy.

3.) On November 19, 2021, I submitted a Request for Reasonable Accommodation seeking an exemption
from the nasal swab Covid-19 testing based on my sincerely held religious (Christian) beliefs.

4.) | was informed by my supervisors that 1 would be okay to work as long as | wore a mask when
interacting with the public. They knew I was not going to do Covid-19 nasal swab testing yet they put
me back on the road to work and told me to get tested. I told them that I could not agree to the nasal
swab testing because it violated my sincerely held religious beliefs but that I would wear a mask. They
still sent me out to work my shift with expectations that I could work as long as I wore a mask.

want this charge filed with both the EEOC and the State or local Agency, if any. | will INOTARY — When necessary for State and Local Agency Requirements
jadvise the agencies if | change my address or phone number and | will cooperate fully
with them in the processing of my charge in accordance with their procedures.

| swear or affirm that | have read the above charge and that it is true to the
est of my knowledge, information and belief.

declare under penalty of perjury that the above is true and correct.
SIGNATURE OF COMPLAINANT

/> WV oe SWORN TO OPES FIVE D By
Date Charging Party Signature E [= OC
7/21/20. 07/22/2022

5.) The next day, I was told to sign paperwork and surrender my firearm. I was not comfortable signing the
paperwork and did not understand all the details. My Captain told me that signing the paperwork was solely
for the purpose of acknowledging I received it. He did not read every page to me, gave a brief overall
summary, and told me to sign every page. I was placed on Administrative Duty.

6.) On December 10, 2021, I met with Internal Affairs and was not denied my request for a Reasonable
Accommodation at the time.

7.) On December 23, 2021, I received a letter denying my Request for Reasonable Accommodation because
saliva testing was an alternative to nasal swab testing and I could conduct the saliva testing without violating
my religious beliefs.

8.) I informed my supervisors that I was not aware that saliva testing was an approved option and stated that I
would begin weekly saliva testing.

9.) I began the weekly saliva testing and tested each week to the best of my ability. Due to the availability of
saliva testing sites, I tested outside of the weekly testing guidelines once or twice. However, my supervisors
were aware of the reason, and I showed them that the locations offering saliva testing were booked making it
impossible to get tests on a consistent weekly basis. My tests were done as close to the weekly deadlines as
soon as appointments to saliva test were available (they were appointment only) and were mostly completed
on time. I made a good faith effort to complete the tests and my supervisors said this was fine.

10.) On January 24, 2022, I was fired due to willful violation of known and written work rules.
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Liz) I believe that my termination was motivated by anti-religious animus and that it is retaliation for
having engaged in protected activity under Title VII by making a Request for Reasonable Accommodation
on November 19, 2021.

12.) I believe my accommodation request was reasonable because I used an alternative form of testing
(saliva) that did not violate my religious beliefs so as to come into compliance. I also offered to conduct
temperature testing as an alternative.

13.) 1 believe my termination was due to retaliation for making a Request for Reasonable
Accommodation.
14.) Therefore, I believe I have been discriminated against in violation of Title VII due to my sincere and

deeply held religious beliefs because I was not granted my requested accommodation even though it would
have presented no undue hardship, my employer did not engage in a truly interactive process regarding my
request, and I was retaliated against for engaging in protected activity.

15h Additionally, I believe my rights under the ADA have been violated, most notably by my employer’s
not granting my accommodation, not engaging in a truly interactive process regarding my request, and
retaliating against me for engaging in protected activity under the ADA. J also believe my employer
regarded me as having a disability and discriminated against me on that basis.

16.) Furthermore, I believe my employer violated my rights under GINA by discriminating against me
because of my genetic information.

| want this charge filed with both the EEOC and the State or local Agency, if any, | NOTARY — When necessary for Stafe and Local Agency Requirements

will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

| swear or affirm that | have read the above charge and that it is true to

| declare under penalty of perjury that the above is true and correct. tha best of my knowledge, information and bellef.

SIGNATURE OF COMPLAINANT

LOS SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE

(month, day, year)

op2'12022

Date Charging Party Signature

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